                                   Case 23-10670-JKS                 Doc 1       Filed 05/23/23            Page 1 of 19


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Brio Systems, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  228 Park Ave S, PMB 77474
                                  New York, NY 10003
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.getbrio.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                      Case 23-10670-JKS                 Doc 1         Filed 05/23/23              Page 2 of 19
Debtor    Brio Systems, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5112

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 23-10670-JKS                       Doc 1       Filed 05/23/23              Page 3 of 19
Debtor    Brio Systems, Inc.                                                                              Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 23-10670-JKS                  Doc 1         Filed 05/23/23             Page 4 of 19
Debtor    Brio Systems, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        05/23/2023
                                                  MM / DD / YYYY


                             X      /s/ Boris Lipchin                                                     Boris Lipchin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X      /s/ Mark D. Olivere                                                    Date     05/23/2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Mark D. Olivere 4291
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0191                Email address      olivere@chipmanbrown.com

                                 4291 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                                  BRIO SYSTEMS, INC.

                                        Consent of the Board of Directors
                Pursuant to Section 141(f) of the General Corporation Law of the State of Delaware

                    The undersigned, being all of the members of the board of directors (the “Board”) of
            Brio Systems, Inc., a Delaware corporation (the “Company”), pursuant to Section 141(f) of the
            General Corporation Law of the State of Delaware and the Bylaws of the Company, hereby
            adopt the following resolutions by written consent (this “Consent”):

                 WHEREAS, the Board has considered the financial and operational conditions of the
            Company’s business; and

                   WHEREAS, the Board has reviewed, considered, and received the recommendation of
            senior management of the Company and the advice of the Company’s professionals and advisors
            with respect to the options available to the Company, including the possibility of pursuing a
            bankruptcy proceeding under Chapter 7 of title 11 of the United States Code (as amended, the
            “Bankruptcy Code”) and having received the written consent or affirmative vote of the
            Requisite Holders (as defined in the Amended and Restated Certificate of Incorporation of Brio
            Systems, Inc., dated March 26, 2021);

                    NOW, THEREFORE, BE IT RESOLVED, that after consideration of the alternatives
            presented to it and the recommendations of senior management of the Company and the advice
            of the Company’s professionals and advisors, the Board has determined in its business judgment
            that it is in the best interest of the Company, its creditors, shareholders, and other interested
            parties, and stakeholders that a voluntary petition be filed by the Company under Chapter 7 of
            the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
            “Bankruptcy Petition”); and it is

                    FURTHER RESOLVED, that Boris Lipchin, the Company’s Chief Executive Officer, and
            any other officer or person designated and so authorized to act (each, an “Authorized Person”)
            are, and each hereby is, authorized, empowered and directed, in the name and on behalf of the
            Company (a) to execute, verify and file on behalf of the Company all documents necessary or
            appropriate in connection with the filing of said Bankruptcy Petition, including, without
            limitation, all petitions, affidavits, declarations, schedules, statements of financial affairs, lists,
            motions, applications, pleadings, and other papers or documents in connection with the
            Bankruptcy Petition; (b) take and perform any and all actions deemed necessary and proper to
            obtain such relief as authorized herein and in connection with the Company’s Chapter 7 case (the
            “Bankruptcy Case”); (c) appear as necessary at all bankruptcy proceedings on behalf of the
            Company; and (d) pay all such expenses where necessary or appropriate in order to carry out
            fully the intent and accomplish the purposes of the resolutions adopted herein; and it is

                   FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
            authorized and directed to employ the law firm of Chipman Brown Cicero & Cole, LLP as
            counsel to assist the Company in filing for relief under Chapter 7 of the Bankruptcy Code and in
            carrying out the Company’s duties under Chapter 7 of the Bankruptcy Code, and the officers of
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                             Case 23-10670-JKS           Doc 1   Filed 05/23/23   Page 6 of 19




            the Company are hereby authorized and directed to execute retention agreements, pay retainers
            prior to, and immediately upon the filing of the bankruptcy case; and it is

                     FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers or
            other documents heretofore executed and delivered (or caused to be executed and delivered) and
            all acts lawfully done or actions lawfully taken by any Authorized Person in connection with the
            Bankruptcy Case, or any further action to seek relief on behalf of the Company under Chapter 7
            of the Bankruptcy Code, or in connection with the Bankruptcy Case, or any matter related
            thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the acts
            and deeds of the Company; and it is

                    FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
            officers of the Company or the Directors of the Company in the name of and on behalf of the
            Company in furtherance of the purpose and intent of any or all of the foregoing resolutions,
            which acts, actions and transactions would have been approved by the foregoing resolutions
            except that such acts were taken before those resolutions were adopted, be, and hereby are,
            ratified, confirmed, and approved in all respects.

                    IN WITNESS WHEREOF, each of the undersigned directors, collectively constituting all
            of the members of the Board, has executed this Consent on the date set forth below his name.




                                        [SIGNATURE PAGE FOLLOWS]
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            Boris Lipchin
                      
            Dated:




            Seymon Dukach
                        
            Dated:




            Alan Rubin
                        
            Dated:




                             [Unanimous Consent Regarding Chapter 7 Filing for Brio Systems, Inc.]
      
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                                   WRITTEN CONSENT OF THE REQUISITE HOLDERS
                                                      OF
                                              BRIO SYSTEMS, INC.


        The undersigned, constituting at least 66.67% of the outstanding shares of Preferred Stock (the “Requisite
        Holders”) of Brio Systems, Inc. a Delaware corporation (the “Corporation”), acting by written consent without a
        meeting, hereby adopt the following.


        WHEREAS, pursuant to section 3.3.6 of the Amended and Restated Certificate of Incorporation of Brio Systems,
        Inc., dated March 26, 2021, the Corporation shall not without the written consent or affirmative vote of 66.67% of
        the outstanding shares of Preferred Stock, “declare bankruptcy”;

        WHEREAS, the directors of the Corporation (the “Directors”) met on May 23, 2023 and unanimously approved
        the Company’s commencement of bankruptcy proceedings under chapter 7, title 11 of the United States Code (the
        “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware;

        WHEREAS, the undersigned Requisite Holders having reviewed and considered all of the relevant information
        and deems it advisable and in the best interests of the Corporation that the Corporation file for chapter 7 of the
        Bankruptcy Code.

        NOW THEREFORE LET IT BE:

        RESOLVED, that the undersigned Requisite Holders hereby approve and provide their consent for the
        Corporation to file for chapter 7 of the Bankruptcy Code.

        RESOLVED, that this written consent shall have the same force and effect as if the resolutions set forth herein
        were adopted at a formal shareholders’ meeting for all purposes.

        This consent will be effective on execution.


        One Way Ventures Fund I, L.P.
        By: One Way Ventures GP I, L.L.C., its general partner


        By:_____________________________________
        Name: Semyon Dukach
        Title: Managing Member
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                             IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

 In re:                                          Chapter 7

 Brio Systems, Inc.,                             Case No. XX-XXXXX (XXX)

           Debtor.


                             CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the authorized officer of Brio Systems, Inc. (“Brio”) certifies that the following corporate entities

directly own 10% or more of Brio’s equity interest:



                       EQUITY HOLDER                      PERCENTAGE OF TOTAL EQUITY




                   One Way Ventures                                    23.95%




          00049742.2
                              Case 23-10670-JKS                    Doc 1        Filed 05/23/23            Page 10 of 19




Fill in this information to identify the case:
Debtor name         Brio Systems, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration     Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on        05/23/2023                     X       /s/ Boris Lipchin
                                                             Signature of individual signing on behalf of debtor

                                                             Boris Lipchin
                                                             Printed name

                                                             Chief Executive Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 7

    Brio Systems, Inc.,                                   Case No. XX-XXXXX (XXX)

                     Debtor.


                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

        1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that
Chipman Brown Cicero & Cole, LLP (“CBCC” or the “Firm”) are attorneys for the above-named
debtor (the “Debtor”) and that compensation paid to the Firm within one year before the filing of
the petition of bankruptcy, or agreed to be paid to the Firm, for services rendered or to be rendered
on behalf of the Debtor in contemplation of or in connection with this bankruptcy case is as
follows:

             For legal services, CBCC agreed to accept:                                              $15,000.001

             Prior to the filing of this statement, CBCC received:                                   $15,000.00

             Balance Due                                                                             $0.00

             2.      The source of the compensation paid to the Firm was:

                     ▀ Debtor Brio Systems, Inc.                              Other (Specify):

             3.      The source of compensation to be paid to the Firm was:

                     ▀ Debtor Brio Systems, Inc.                              Other (Specify):

             4.

               ▀ The Firm has not agreed to share the above-disclosed compensation with any
other person unless they are members and associates of the Firm.

                  The Firm has agreed to share the above-disclosed compensation with another
person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached.




1
      Prior to the Petition Date and pursuant to a written engagement agreement, on May 18, 2023, the Firm received an
      $15,000.00 retainer for restructuring advice and bankruptcy planning for Brio Systems, Inc. (the “Retainer”). The
      Retainer was fully drawn and fully earned by the Firm. All funds received from the Debtor were transferred from
      the Firm’s attorney trust account to its operating account prior to the filing of this case.
00049493.1
               Case 23-10670-JKS         Doc 1     Filed 05/23/23     Page 12 of 19




       5.       In return for the above-disclosed fee, the Firm agreed to render legal service for all
aspects of the bankruptcy cases until the conclusion of the meeting of creditors pursuant to section
341(a) of the Bankruptcy Code, including:

               a.      advise in connection with the preparation of the petition, schedules of assets
                       and liabilities, statement of financial affairs, schedule of income and
                       expenditures, lists of creditors and equity security holders, statement of
                       executory contracts and unexpired leases, and master mailing list;

               b.      representation of the Debtor at the meeting of creditors pursuant to section
                       341(a) of the Bankruptcy Code; and

               c.      representation of the Debtor as may otherwise be required to advise the
                       Debtor regarding its rights and responsibilities as a debtor under chapter 7
                       of the Bankruptcy Code and the Bankruptcy Rules.

                                        CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to the Firm for representation of the Debtor in this bankruptcy proceeding.

Dated: May 23, 2023                            CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware
                                                       /s/ Mark D. Olivere
                                               William E. Chipman, Jr. (No. 3818)
                                               Mark D. Olivere (No. 4291)
                                               1313 North Market Street
                                               Suite 5400
                                               Wilmington, Delaware 19801
                                               Telephone:    (302) 295-0191
                                               Facsimile:    (302) 295-0199
                                               Email:        chipman@chipmanbrown.com
                                                             olivere@chipmanbrown.com

                                               Counsel for the Debtor




00049493.1                                       -2-
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 7

    Brio Systems, Inc.,                                    Case No. XX-XXXXX (XXX)

                     Debtor.


                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

       1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that Geoffrey
T. Raicht, PC (“Raicht” or the “Firm”) are attorneys for the above-named debtor (the “Debtor”)
and that compensation paid to the Firm within one year before the filing of the petition of
bankruptcy, or agreed to be paid to the Firm, for services rendered or to be rendered on behalf of
the Debtor in contemplation of or in connection with this bankruptcy case is as follows:

             For legal services, Raicht agreed to accept:                                            $30,000.001

             Prior to the filing of this statement, Raicht received:                                 $30,000.00

             Balance Due                                                                             $0.00

             2.      The source of the compensation paid to the Firm was:

                     ▀ Debtor Brio Systems, Inc.                              Other (Specify):

             3.      The source of compensation to be paid to the Firm was:

                     ▀ Debtor Brio Systems, Inc.                              Other (Specify):

             4.

               ▀ The Firm has not agreed to share the above-disclosed compensation with any
other person unless they are members and associates of the Firm.

                  The Firm has agreed to share the above-disclosed compensation with another
person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached.




1
      Prior to the Petition Date and pursuant to a written engagement agreement, on March 23, 2023, the Firm received
      a $20,000 retainer, and on April 21, 2023, the Firm received a supplemental retainer in the amount of $10,000, for
      a total of $30,000 for restructuring advice and bankruptcy planning for Brio Systems, Inc. (the “Retainer”). The
      Retainer was fully drawn and fully earned by the Firm. All funds received from the Debtor were transferred from
      the Firm’s attorney trust account to its operating account prior to the filing of this case.
00049741.1
               Case 23-10670-JKS         Doc 1     Filed 05/23/23     Page 14 of 19




       5.       In return for the above-disclosed fee, the Firm agreed to render legal service for all
aspects of the bankruptcy cases until the conclusion of the meeting of creditors pursuant to section
341(a) of the Bankruptcy Code, including:

               a.      advise in connection with the preparation of the petition, schedules of assets
                       and liabilities, statement of financial affairs, schedule of income and
                       expenditures, lists of creditors and equity security holders, statement of
                       executory contracts and unexpired leases, and master mailing list;

               b.      representation of the Debtor at the meeting of creditors pursuant to section
                       341(a) of the Bankruptcy Code; and

               c.      representation of the Debtor as may otherwise be required to advise the
                       Debtor regarding its rights and responsibilities as a debtor under chapter 7
                       of the Bankruptcy Code and the Bankruptcy Rules.

                                        CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to the Firm for representation of the Debtor in this bankruptcy proceeding.

Dated: May 23, 2023                            Geoffrey T. Raicht, PC


                                                       /s/ Geoffrey T. Raicht
                                               Geoffrey T. Raicht, PC
                                               41 Purdy Avenue
                                               PO Box 1074
                                               Rye, NY 10580
                                               Phone: (917) 344-0036
                                               Email:        graicht@raichtlaw.com

                                               Counsel for the Debtor




00049741.1                                       -2-
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                                                United States Bankruptcy Court
                                                          District of Delaware
 In re   Brio Systems, Inc.                                                                      Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:         05/23/2023                                    /s/ Boris Lipchin
                                                         Boris Lipchin/Chief Executive Officer
                                                         Signer/Title
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Amazon Web Services, Inc
410 Terry Ave N
Seattle, WA 98109

Assurely Insurance Policy
51 John F. Kennedy Parkway
First Floor
West Short Hills, NJ 70778

Arizona Department of Revenue
1600 W. Monroe St.
Phoenix, AZ 85007

Axiom Medical
1300 Lake Robbins Dr. Suite 250
The Woodlands, TX 77380

Bennett Thrasher LLP
3300 Riverwood Pkwy #700
Atlanta, GA 30339

CSC Global
251 Little Falls Drive
Wilmington, DE USA 19808

California
3321 Power Inn Rd., Ste. 130
Sacramento, CA 95826

Carroll & Vounessea LLP
3 Essex Green Drive Suite 5
Peabody, MA 01960

Colorado Department of Revenue
P.O. Box 17087
Denver, CO 80217-0087

Connecticut Department of Revenue Services
450 Columbus Blvd.
Suite 1
Hartford CT 06103

DoctorNow
181 N. Robertson Blvd
Beverly Hills, CA 90211

DoorDash
303 2nd Street South Tower 800
San Francisco, CA 94107

EFT Media Productions LLC
3310 W. Vanowen Street
Burbank, CA 91505




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FedEx
942 South Shady Grove Road
Memphis, TN 38120

Florida Department of Revenue
5050 W Tennessee St
Tallahassee FL 32399-0120

Formagrid, Inc dba Airtable
799 Market St.
San Francisco, CA 94102

G-Lock Software
34 N. Franklin Ave.
Pinedale, WY 82941

Georgia Dept. of Revenue
PO Box 105408
Atlanta, GA 30348-5408

Github
88 Collin P Kelly Jr. St.
San Francisco, CA 94107

Greenhouse Software, Inc.
18 W. 18th St., 11th Floor
New York, NY 10011

Health Quest Esoterics
6 Bendix
Irvine, CA 92618

HireArt, Inc.
135 W. 29th St. #500
New York, NY 10001

HRC Total Solutions
111 Charles St.
Manchester, NH 03101

Hubspot
25 First St. 2nd Floor
Cambridge, MA 02141

Idaho State Tax Commission
PO Box 36
Boise, ID 83722-0410

Illinois Department of Revenue
PO BOX 19013
SPRINGFIELD IL 62794-9013

Konsus Inc.
470 Ramona St.
Palo Alto, CA 94301




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Massachusetts Department of Revenue
PO Box 419257
Boston, MA 02241-9257

Missouri Department of Revenue
P.O. Box 840
Jefferson City, MO 65105-0840

Newland Group Insurance LLC
412 Broadway #2
Somerville, MA 02145

NJ Division of Taxation
PO Box 999
Trenton, NJ 08646-0999

Nexus Medical Labs
313 Pleaseant St.
Watertown, MA 02472

Nillam Logistics Corp
2117 Corporate Drive
Boynton Beach, FL 33426

Nillam Logistics Fulfillment Corp
2117 Corporate Drive
Boynton Beach, FL 33426

North Carolina Department of Revenue
PO Box 25000
Raleigh, NC 27640-0640

Norton and Associates Inc.
97 Elm St.
Cohasset, MA 02025

Ohio Department of Taxation
Attn: Compliance Business Tax Division
PO Box 2678
Columbus, OH 43216-2678

Okta, Inc.
301 Brannan St. 1st Floor
San Francisco, CA 94107

Oxy-Gen Laboratory, LLC
303 Research Dr. NW #300
Norcross, GA 30092

PA Department of Revenue
PO Box 280437
Harrisburg, PA 17128-0437

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Des Moines, IA 50392


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Sterling Independent Services
5500 Interstate N. Pkwy
Sandy Springs, GA 03328

Strategic Lab Partners
30 Burton Hills Blvd #170
Nashville, TN 37215

Texas Comptroller of Public Accounts
P.O. Box 13528, Capitol Station
Austin, Texas 78711-3528

The DMF Group LLC
16 North Square Suite 1
Boston, MA 02113

Traekos Workforce Medicine
3493 Adele Ln
Bettendorf, IA 52722

Twilio Inc.
375 Beale St. #300
San Francisco, CA 94105

Vashon Consulting LLC
4719 E. Firestone Dr.
Chandler, AZ 85249

Wilson Sonsini Goodrich & Rosati
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Boston, MA 02108

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PO Box 8921
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